        Case: 3:20-cv-00212-MJN Doc #: 20 Filed: 11/04/21 Page: 1 of 1 PAGEID #: 66




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON


  ABIGAIL ROBERTSON,                              : Case No. 3:20-cv-212
                                                  :
              Plaintiff,                          : District Judge Michael J. Newman
                                                  : Magistrate Judge Sharon L. Ovington
  vs.                                             :
                                                  :
  WAL-MART INC., et al.,                          :
                                                  :
              Defendants.                         :


                                              NOTICE


         The discovery phase of this case has ended. No discovery motions or other matters

referred to the undersigned Judicial Officer remain pending. The case is presently set for

further proceedings, including trial, before United States District Judge Michael J. Newman.

The Clerk of Court is directed to note in the record that:

         1.        Referral of this case to the undersigned Judicial Officer has expired; and

         2.        No motions or other matters in this case remain pending before the
                   undersigned Judicial Officer.


November 4, 2021                                    s/Sharon L. Ovington
                                                    Sharon L. Ovington
                                                    United States Magistrate Judge
